  Case 1:18-cv-00693-RGA Document 2 Filed 05/07/18 Page 1 of 3 PageID #: 6


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(Del. Rev. S/2014) Pro Sc Employment Discrimination Complaint

                                          IN THE UNITED STATES DISTRICT COURT
                                             FOR THE DISTRICT OF DELAWARE
                                                                                                                     [ MAY OI 2018   I
                                                                                                                  US DISTRICT COURT
                                                                                                                DISTRICT OF DELAWAR:=



             (Name of Plaintiff or Plaintiffs)

                                         v.                                     Civ. Action No.         18 - 6 93
                                                                                 (To be assigned by Clerk's Office)

         SA FE\AfAY                                                                 COMPLAINT FOR
                                                                                EMPLOYMENT DISCRIMINATION
                                                                                       (Prose)
             (Name of Defendant or Defendants)
                                                                                                 Jury Demand?
                                                                                                     ·lSiYes
                                                                                                    •    No

             1.            This action is brought pursuant to (check all spaces that apply):

                              D          Title VII of the Civil Rights Act of 1964, as amended, 42 U.S.C. §§ 2000e, et seq., for
                                         employment discrimination on the basis of race, color, religion, sex, or national origin.

                              D          Age Discrimination in Employment Act of 1967, as amended, 29 U.S.C. §§ 621, et seq.,
                                         for employment discrimination on the basis of age. My year of birth is: _ _ _ __

                              D          Rehabilitation Act of 1973, as amended, 29 U.S.C. §§ 701, et seq., for employment
                                         discrimination on the basis of a disability by an employer which constitutes a program
                                         or activity receiving federal financial assistance.

                                         Americans with Disabilities Act of 1990, as amended, 42 U.S.C. §§ 12101, et seq., for
                                         employment discrimination on the basis of disability.

             2.            Plaintiff resides at             t, 31../:1.. 774 b ~Ag,\             c.oug I
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       (City)                                                   (County)           (State)            (Zip Code)
                                                                . Attach additional sheets if more than one Plaintiff.
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          (Area Code) (Phone Number)

             3.            Defendant resides at, or its business is located at   "2- 5 't-1- ~u_/ I( · ~ OA ~
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Attach additional sheets if more than one Defendant.




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res u_ 1-+                     - - - - - - - - - - - - -- -~                 regarding defendant's alleged discriminatory conduct.                                                     !{AR) nS
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( ·nu-S wQS; with the Equal Employment Opportunity Commission of the United States regarding defendant's alleged                                                         _               f',e,l S(
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 NO~     A-T ."'               discriminatory conduct.                 --1'o f"o\\ovJ u.~ ot;j -t\,-.Q, rae..,·p+c-f fl1 / SUJ;,~1 !!=f.'l- ,!°[!7a.-..n. .
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\ 5 A- N O\V                                9.          The Equal Employment Opportunity Commission issued the attached Notice-of-Right-to-Sue                                G...Yld,  -toc,1(__
l{\J~~p.S letterwhichwasreceivedbyplaintiffon :                                        }   (o       ,    fe.b                                        2 0 I 2{                         f ~
    l'..::5SL,\.Q__•                                                                  (Day)                       (Month)                              (Year)                       YB} (
          ) 7 • 1-- )1         (NOTE:            ATTACH NOTICE-OF-RIGHT-TO-SUE LETTER TO THIS COMPLAINT.)
                                                                                                                                                                                              8
wa. £            Q 'f<.eSct H               10.         The alleged discriminatory acts, in this suit, concern:

 of ((\ '-/ em.pbrq!}l                                     A. D Failure to employ plaintiff.
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                                                           B. D Termination of plaintiffs employment. Plaintiff was terminated from employment on
                                                                the following date: _ _ _ _ _ _ _ _ __
 )/OW bV £.A, f{\                   y                      C. D Failure to promote plaintiff. Plaintiff.was refused a promotion on the followin~ date:

 /faro 56f>'J,~                     ~I                     D.   ¥    Otheracts (pleasespecify):     J      Li, )(\   ,tJ    ~.,,-O,,A,(1Ajt4/dAs('j)JMJm.hdQ~
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0 '- ola.,R ~                              QXY\                inSu.))ed c.~d o. UA.Al~~
~. P J /"\ n"'\ 11. The conduct fDefendant(s) was disc ·nat because it was based on (check all that apply): l 5si(~                                                                                J
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                     Case 1:18-cv-00693-RGA Document 2 Filed 05/07/18 Page 3 of 3 PageID #: 8




                                        A.    0Plaintiffs race
                                        B.    0Plaintiffs color
                                        C.   0 Plaintiffs sex
                                        D.   0 Plaintiffs religion
                                        E.   0 Plaintiff's national origin
                                        F.   0 Plaintiffs age
                                        G.   ~ Plaintiffs disability

                                  12.   A copy of the charges filed with the Department of Labor of the State of Delaware and/or the
                                        Equal Employment Opportunity Commission is attached to this complaint and is submitted as a
             !!?J                       brief statement of the facts of plaintiff's claim.                    ,-1. ~ ~O     _____ L...        ,? - A... -- •- _ "-
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                    (NOTE: ATTACH A COPY OF THE CHARGES FILED WITH THE DEPARTMENT OF LABOR OF
                    THE STATE OF DELA WARE AND/OR THE EQUAL EMPLOYMENT OPPORTUNITY COMMISSION '-+W.JJ
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        r IAY\       \    THEREFORE, Plaintiff asks the ~ to grant such relief as may be appropriate, includi!'lg but not ·-  J.           ~                   A   • -           .



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ON'\.d- "t'k4,. 6~•oq _ E. 0 That the Court appoint legal counsel.                          - , C..OrKf t!n S~~~
~            R  CU f $ ~ F. K Such relief as may be appropriate, including costs an attorney's fees.     . f>V         ;A~..,.-
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                    Federal Rule of Civil Procedure 5.2 addresses the privacy and security concerns resulting from public access to electronic court
                    files. Under this rule, papers filed with the court should not contain: an individual's full social security number or full birth date;
                    the full name of a person known to be a minor; or a complete financial account number. A filing may include only: the last four
                                                                                                                                                               ~ -
                    digits of a social security number; the year of an individual's birth; a minor's initials; and the last four digits of a financial
                    account number.




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